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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
  v.                                         )
                                             )               09-CR-30084-WDS
REGINALD MOSES,                              )
                                             )
       Defendant.                            )


                                 MEMORANDUM & ORDER

STIEHL, District Judge:

       Before the Court are defendant’s pro se motion for a new trial (Doc. 151) and a second

motion for new trial filed by defendant’s trial counsel (Doc. 152). The grounds asserted in the

two motions are distinct, therefore, the Court will address each in turn. The government has not

filed a response to either motion.

       I.      Defendant’s Pro Se Motion.

       In his motion, the defendant objects to the jury instructions given to the jury. He asserts

that the instructions were not properly followed because, although the Court instructed that he

could be found guilty for taking crack cocaine from his co-defendant, Mintai Bedford, the Court

allowed the government to introduce evidence at trial that he took things other than crack

cocaine from Bedford.

       The Court instructed the jury the defendant had been charged with the offenses of

conspiracy to interfere with commerce by threats or violence (Count 2); interference with

commerce by threats or violence (Count 3); and possession of a firearm in furtherance of a crime

of violence (Count 4). (Government’s Instruction #7.) The Court instructed the jury as follows
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as to each count, as follows:

               a.        The Instruction given for the charges in Count 2 provided:

              A conspiracy is an agreement between two or more
       persons to accomplish an unlawful purpose.
              To sustain the charge alleged in Count 2 of the
       Superseding Indictment, the government must prove the following
       propositions:

               First:           A conspiracy existed to interfere with
                                commerce by threat or violence; and
               Second:          The defendant joined the conspiracy with
                                the intent to further it.

                If you find from your consideration of all the evidence that
       each of these propositions has been proved beyond a reasonable
       doubt, then you should find the defendant guilty of that charge.
                If, on the other hand, you find from your consideration of
       all of the evidence that any of these propositions has not been
       proved beyond a reasonable doubt, then you should find the
       defendant not guilty of that charge.
                To be a member of the conspiracy, the defendant need not
       join at the beginning or know all the other members or the means
       by which its purpose was to be accomplished. The government
       must prove beyond a reasonable doubt that the defendant was
       aware of the common purpose and was a willing participant.

(Government’s No. 14).

               b.        The Instruction given on Count 3 provided:

              To sustain the charge alleged in Count 3 of the Superseding
       Indictment, the government must prove the following propositions:

               First:           The defendant knowingly attempted to
                                obtain crack cocaine from or in the presence
                                of another;
               Second:          The defendant did so by means of robbery;
               Third:                   The defendant believed that the
                                        victim parted with the crack cocaine
                                        because of the robbery; and
               Fourth:          The robbery affected interstate commerce.


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                If you find from your consideration of all the evidence that
       each of these propositions has been proved beyond a reasonable
       doubt, then you should find the defendant guilty of that charge.
                If, on the other hand, you find from your consideration of
       all of the evidence that any of these propositions has not been
       proved beyond a reasonable doubt, then you should find the
       defendant not guilty of that charge.

       (Government’s #15.)

              c.       The Instruction given on Count 4 provided:

              To sustain the charge alleged in Count 4 of the Superseding
       Indictment, the government must prove the following propositions:

              First:          The defendant committed the crime of conspiracy to
                              interfere with commerce by threats or violence or
                              interference with commerce by threats or violence;
                              and
              Second:         The defendant knowingly possessed a firearm in
                              furtherance of that crime.

               If you find from your consideration of all the evidence that each of
       these propositions has been proved beyond a reasonable doubt, then you
       should find the defendant guilty of that charge.
               If, on the other hand, you find from your consideration of all of the
       evidence that any of these propositions has not been proved beyond a
       reasonable doubt, then you should find the defendant not guilty of that
       charge.

       (Government’s #16)

              d.       Finally, the Court gave a separate instruction which
                       contained that definition of robbery as:

                The term “robbery” means the unlawful taking or obtaining of
        personal property from the person or in the presence of another, against his
        will, by means of actual or threatened force, or violence, or fear of injury,
        immediate or future, to his person or property, or property in his custody or
        possession, or the person or property of a relative or member of his family
        or of anyone in his company at the time of the taking or obtaining.

(Government’s #17). Finally, in Government’s #27 the Jury was instructed that


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each count, and the evidence related to that count, was to be considered separately.

        In this case, the Court properly instructed the jury on the elements of the

offenses with which the defendant was charged. Although there was evidence

admitted that other things were taken from Bedford’s home at the time that the

cocaine was stolen, the defendant was not charged with taking those items. It was

proper, however, to allow that evidence to be admitted as it put the entire event

including the actions of the defendant, and his co-defendants, into context.

        It is well settled that to succeed the defendant must show that evidence

properly admitted was unduly prejudicial. See, Deicher v. City of Evansville, Wis.

545 F.3d 537, 543 (7th Cir. 2008) (“We have also required a showing of prejudice

for properly admitted exhibits that allegedly improperly influenced the jury);

United States v. Best, 939 F.2d 425, 429 (7th Cir.1991) (en banc) (finding that the

jury was not prejudiced by exposure to evidence that had been properly admitted at

trial); see also United States v. Parker, 491 F.2d 517, 521 (8th Cir.1973) (

“Probative value of evidence admitted must be weighed against possible prejudice

that may result if the exhibits are sent to the jury.”).

        Therefore, the Court FINDS that the defendant has not established that the

admission of the evidence of the taking of the other objects, along with the cocaine,

was improper, and defendant’s motion on this ground is DENIED.

        The defendant also asserts that the jury sent a note to the Court seeking to

have the Court define “possession” but the Court declined to do so. The defendant

asserts that this was prejudicial because the jury did not understand the term and a


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definition may have changed the outcome of the trial.

       It is within the Court’s discretion to determine whether or not to supplement

jury instructions. “We review a decision to answer a question from the jury as well

as the language used in the response for an abuse of discretion.” United States v.

Hewlett, 453 F.3d 876, 880 (7th Cir.2006) (citing United States v. Young, 316 F.3d

649 (7th Cir.2002)). “[T]he district court retains broad discretion in deciding how to

respond to a question propounded from the jury and ... the court has an obligation to

dispel any confusion quickly and with concrete accuracy.” United States v. Sims,

329 F.3d 937, 943 (7th Cir.2003).

       In this case, the Court determined that the jury did not need an additional

instruction on the term “possession.” The Court cannot find that the failure to give

the jury the additional instruction was in error, and the defendant’s motion on this

ground is DENIED.

       II.     DEFENDANT’S MOTION FOR NEW TRIAL FILED BY
               COUNSEL

       Defendant’s trial counsel has filed a motion for new trial based on the

following: that a potential juror was removed over the objection of the defendant (a

Batson challenge); that the government’s witness, Mintai Bedford, blurted out that

he saw the defendant’s picture and name on a police computer, thereby allowing the

jury to assume that the defendant had a police record; and, finally, that the

government elicited hearsay testimony that co-defendant Monte Boatman did not

sign a cooperation agreement, allowing the jury to believe that he had conspired

with the defendant and had something incriminating to say about the defendant.

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               A.      Batson Challenge

       In Batson v. Kentucky, 476 U.S. 79 (1986), the Supreme Court established a

three-step framework for determining whether the prosecution violated the

defendant’s Equal Protection rights by exercising peremptory challenges in a

racially discriminatory manner. First, the defendant must make a prima facie case

“by showing that the totality of the relevant facts gives rise to an inference of

discriminatory purpose.” Batson, 476 U.S. at 94. Second, if the defendant

establishes a prima facie case, the “burden shifts to the [government] to explain

adequately the racial exclusion” by offering permissible, race-neutral reasons for

the peremptories. Id. Third, the trial court must evaluate the plausibility of the

prosecution’s reasons, in light of all of the surrounding circumstances, to decide

whether the defendant has proved purposeful discrimination. Id. at 98; see also

Miller-El v. Dretke, 545 U.S. 231, 251-52 (2005). In this case, the defendant did not

raise a Batson challenge during either cause or peremptory strikes of the venire

pool. Therefore, the Court cannot find that this is a basis for a new trial.

               B.      Witness’ extraneous statement

       During the trial Mintai Bedford stated that he did not know the defendant

before the robbery, but saw his picture on the computer at the Alton Police

Department. Bedford testified that he volunteered that the picture was the “guy that

kicked me in the face.”

       The Court notes that there was no objection to that testimony, nor did the

defendant seek to have the testimony stricken from the record. The Court cannot


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find that the testimony that the witness recognized the defendant on a police

computer was unduly prejudicial, especially in light of the amount of testimony

which placed the defendant at the scene. Accordingly, defendant’s motion on this

ground is DENIED.

               C.      Evidence Concerning Monte Boatman’s Lack of Cooperation

       The defendant’s final ground for a new trial is that the government

improperly introduced evidence that Boatman did not sign a cooperative plea

agreement, therefore, the jury could have concluded that he had something

incriminating to say about the defendant. During the trial, the government’s case

agent testified that Boatman did not cooperate. The defendant objected, the

government then moved on. The Court is not persuaded that this testimony was at

all prejudicial to the defendant, and is not a basis for granting a new trial.

                                   CONCLUSION

        Accordingly, the Court DENIES on all grounds raised, defendant’s motions

for new trial (Docs. 151 and 152).

IT IS SO ORDERED.

DATE: 1 December, 2010

                                                /s/ WILLIAM D. STIEHL
                                                     DISTRICT JUDGE




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